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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


                                                              MDL no. 1:15-md-2657-FDS
 IN RE: ZOFRAN (ONDANSETRON)
 PRODUCTS LIABILITY LITIGATION                                This document relates to:

                                                              All Actions

                                                              FILED UNDER SEAL




    GLAXOSMITHKLINE LLC’S NOTICE OF SUPPLEMENTAL AUTHORITY IN
      SUPPORT OF ITS RENEWED MOTION FOR SUMMARY JUDGMENT
                       BASED ON PREEMPTION

       GlaxoSmithKline LLC (“GSK”) respectfully submits this notice of supplemental authority

to inform the Court of the Fourth Circuit’s January 6, 2021, decision in Knight v. Boehringer

Ingelheim Pharmaceuticals, Inc., No. 19-1636 (4th Cir. Jan. 6, 2021) (attached as Ex. 1). In

Knight, the Fourth Circuit held the plaintiffs’ failure-to-warn claim preempted under the first step

of Wyeth’s two-step inquiry, concluding that the study at the heart of plaintiffs’ claims was not

“newly acquired information” under the CBE regulation. Knight, slip op. at 2-3. Applying the

Fourth Circuit’s analysis in Knight leads to the inevitable conclusion here that Japanese Study

100424 is not “newly acquired information” and would not have permitted GSK to invoke the

CBE regulation to add pregnancy warnings to Zofran’s labeling. Knight therefore supports

preemption under Wyeth step one.

       The plaintiffs in Knight alleged that the defendant should have warned patients with

impaired kidney function to undergo blood testing before taking Pradaxa to avoid a risk of serious

bleeding. Id. at 14. FDA approved Pradaxa relying in part on data from a study called the “RE-

LY” study. Id. at 4-6. After approval, the company continued to analyze the RE-LY data, applying


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“additional analytical approaches” to state in a draft paper—the “Reilly paper”—that, contrary to

the company’s earlier representation to FDA, patients taking Pradaxa should have their blood

monitored to ensure the drug remained at optimal levels in their system. Id. at 7-9. The company

did not, it appears, share the draft paper with FDA. The company eventually published the paper,

and “[t]he final version mirrored the draft version with one major exception: it did not conclude

there was an optimal therapeutic blood concentration range for all patients.” Id. at 9.

       Plaintiffs sued, alleging that the post-approval study of the RE-LY data “provided ‘newly

acquired information’ about the risks Pradaxa posed to certain patients and the need for blood

monitoring.” Id. at 15. Plaintiffs prevailed at trial but the Fourth Circuit reversed, finding the

study was not “newly acquired information” and could not overcome preemption. Id. at 3.

       As the Fourth Circuit explained, a drug manufacturer may invoke the CBE regulation to

add warnings only when it has “‘newly acquired information’ about ‘evidence of a causal

association’ between the drug and a risk of harm.” Id. at 2 (quoting 21 C.F.R. § 314.70(c)(6)(iii)).

It further observed that “newly acquired information” is information that “reveal[s] risks of a

different type or greater severity or frequency than previously included in submissions to [the]

FDA.” Id. at 15 (quoting 21 C.F.R. § 314.3(b)). Applying Merck Sharp & Dohme Corp. v.

Albrecht, 139 S. Ct. 1668 (2019), the Fourth Circuit explained that applying the first step of Wyeth,

including determining whether information constitutes “newly acquired information,” is a question

of law for the court.1 Knight, slip op. at 13 n.8. Deciding this question de novo, the Fourth Circuit


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  For this reason, Plaintiffs’ argument at the recent hearing that causation questions are relevant
only to the merits, and not preemption, is wrong. Hr’g Tr. 68, Dec. 16, 2020. To reject GSK’s
preemption defense, this Court would need to conclude, despite all reliable evidence to the
contrary, that Study 100424 constitutes “newly acquired information”—i.e., information that
“reveal[s] risks of a different type or greater severity or frequency than previously included in
submissions to [the] FDA”—of a “causal association” between Zofran and birth defects. 21
C.F.R. §§ 314.3(b), 314.70(c)(6)(iii)(A) (emphasis added).

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concluded that the Reilly paper was not “newly acquired information.” Id. at 16-17.2

       Several elements of the Fourth Circuit’s analysis are instructive:

       First, the court concluded the final paper was not “newly acquired information” in part

because FDA was already aware of the general correlation between Pradaxa blood concentration

levels and bleeding risk when it approved the Pradaxa labeling. Id. at 15-16. The same is true

here: when FDA rejected pregnancy warnings and a Category C designation for Zofran in 2015,

it had reviewed Studies R10590, L10649, L10873, and 100422, which together reported ten heart

defects in the treatment groups and another three in control groups, and had concluded that they

did not show evidence of teratogenicity. GSK Am. MSJ Exs. 58 at -7904-7908; 59 at -2187; 130

at -0202; 131 at -0497; 135 at -0361, -0380-426; 116 at -2554, -2575-579, -2638-641 (attached to

Notice of Filing, ECF No. 1757). Study 100424, which produced another two heart defects in

treatment groups, did not “reveal risks of a different type or greater severity or frequency than

previously included in submissions to [the] FDA.” Knight, slip op. at 15 (quoting 21 C.F.R.

§ 314.3(b)). For that reason alone, preemption is required.

       Next, the Fourth Circuit held that the Reilly paper was not newly acquired information

because its conclusion “plainly [did] not establish any new risk,” but merely supported what the

company previously understood—that “[t]here is no single plasma concentration range that


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  The court had no occasion to address Wyeth’s second step as clarified by Albrecht, instead basing
preemption entirely on the lack of “newly acquired information” that would permit a labeling
change under the CBE regulation at Wyeth step one. Thus, the Fourth Circuit found preemption
without asking whether FDA had ever been “fully informed” of the draft Reilly paper. In other
words, the court did not need to consider whether the company had provided the paper to FDA or
breached any regulatory duty to do so. Likewise, here, because Study 100424 was not “newly
acquired information,” the Court need not consider whether GSK had a regulatory duty to provide
it to FDA. See, e.g., Hr’g Tr. 19-20, Dec. 16, 2020. In any event, as Plaintiffs and their expert Dr.
Harvey concede, GSK properly met its annual reporting obligations by disclosing Study 100424
in an annual report. See GSK Am. MSJ Mem. 18-19 (ECF No. 1813); MSJ Reply Mem. 13-14 &
n.7 (ECF No. 1725).

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provides optimal benefit-risk for all patients.” Id. at 16-17. So, too, here: Despite Plaintiffs’ and

Dr. Danielsson’s insistence that Study 100424 shows a risk of birth defects, that interpretation is

at odds with the findings of the independent study author, who concluded that it did not show

teratogenicity.   GSK Supp. MSJ Ex. 165 (ECF No. 2042-6).
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       Next, the Fourth Circuit considered whether “the preliminary conclusions that emerged

before the analysis was complete”—that is, the draft conclusion that patients should receive blood

monitoring to ensure an optimal concentration range—constituted newly acquired information.

Knight, slip op. at 17. The court held that it did not, placing great weight on the company’s ultimate

conclusion that the data did not support requiring blood monitoring. Id. Regardless of the

preliminary analysis, the company “came to a different conclusion,” and “the scientific and

regulatory community accepted [that] conclusion.” Id. at 17-18.

       Similar reasoning pertains here. The independent study author of Study 100424, the

authors of peer-reviewed publications evaluating Study 100424, GSK, and



Contrary to Plaintiffs’ suggestion at the recent hearing, see Hr’g Tr. 44-45, Dec. 16, 2020, GSK

also offered this Court the opinions of three timely disclosed experts who opine that the Japanese

animal studies, including Study 100424, do not show evidence of teratogenicity. See GSK MSJ

Exs. 148-150 (ECF Nos. 1723-12, 1723-13, 1723-14); see also GSK MSJ Reply at 7-13 (ECF No.

1725). Dr. Danielsson is alone in opining to the contrary. Although Plaintiffs conspicuously

ignored Wyeth step one and the “newly acquired information” requirement in their recent


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 Notably, Dr. Danielsson also opined that Studies 100422, L10873, and R10937 show evidence
of teratogenicity. That opinion squarely conflicts with, and improperly second-guesses, FDA’s
own conclusions about those studies. See GSK MSJ Reply at 5-6 (ECF No. 1725).

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supplemental briefing, they are effectively asking this Court to base a conclusion that Study

100424 constitutes “newly acquired information” of a “causal association” by crediting the outlier

opinion of Dr. Danielsson while ignoring the actual conclusion of the study and the findings of its

authors.

       Finally, and critically, the Fourth Circuit found it significant that, “after reviewing the

Reilly Paper, the FDA has continued to approve labels with no monitoring requirement.” Knight,

slip op. at 18. According to the Fourth Circuit, that fact “undermine[d]” the plaintiffs’ claim that

the information at issue was “newly acquired information.” Id. This point devastates Plaintiffs’

arguments. FDA indisputably has all the information that Plaintiffs claim it lacked, including

Study 100424, when it made its prior labeling decisions.



                                                     GSK attached the full study report to its citizen

petition, and Plaintiffs presented their arguments directly to FDA and provided their expert reports.




                   As the Fourth Circuit held in Knight, FDA’s continuing decision not to warn

about animal data allegedly showing teratogenicity reaffirms that Study 100424 is not “newly

acquired information” under the CBE regulation.

       In sum, Knight further confirms that federal law preempts Plaintiffs’ claim under Wyeth

step one. See GSK Supp. Mem. ISO MSJ at 17-18 (ECF No. 2046). As in Knight, this Court can

and should decide the preemption question in GSK’s favor on that ground.




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Dated: January 11, 2021

                                   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

I hereby certify that the foregoing document, which was filed with the Court through the CM/ECF
system, will be sent electronically to all registered participants as identified on the Notice of
Electronic Filing (“NEF”) and paper copies will be sent via first class mail to those identified as
non-registered participants.

                                             /s/ Jennifer Stonecipher Hill
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